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     The Law Offices of Olaf W. Hedberg
1    Olaf W. Hedberg, State Bar #151082
     901 H St., Suite 673
2    Sacramento, California 95814
     (916) 447-1192 office
3    o.hedberg@sbcglobal.net
4

5

6                             IN THE UNITED STATES DISTRICT COURT

7                          FOR THE EASTERN DISTRICT OF CALIFORNIA

8

9
                                                       Case Number: 10-CR-0347 MCE
10   UNITED STATES OF AMERICA
                                                       DEFENDANT LEONARD WOODFORK'S
11                                                     WAIVER OF PERSONAL APPEARANCE
12   V.

13
     LEONARD WOODFORK
14

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17
            Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant, LEONARD
18
     WOODFORK, hereby waives the right to be present in person in open court upon the hearing of
19
     any motion or other proceeding in this case, including, but not limited to, when the case is set for
20
     trial, when a continuance is ordered, and when any other action is taken by the court before or
21
     after trial, except upon arraignment, plea, empanelment of jury and imposition of sentence.
22
     Defendant hereby requests the Court to proceed during every absence of his which the Court
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     may permit pursuant to this waiver; agrees that his interests will be deemed represented at all
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25
     times by the presence of his attorney, the same as if the defendant were personally present; and


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1    further agrees to be present in court ready for trial any day and hour the Court may fix in his

2    absence.

3             The defendant further acknowledges that he has been informed of his rights under Title
4    18 U.S.C. §§ 3161-3174 (The Speedy Trial Act) and authorizes his attorney to set times and
5    dates under that Act without his personal presence. The original signed copy of this waiver is
6    being preserved by the attorney undersigned.
7    Dated:
8
                                                             /s/ Leonard Woodfork
                                                           (Original retained by attorney)
9

10
                     I agree and consent to my client’s waiver of appearance.
11

12
     Dated:                                                /s/ Olaf W. Hedberg
13                                                         Olaf W. Hedberg
                                                           Attorney for Leonard Woodfork
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              IT IS SO ORDERED.
17
     DATED: November 10, 2010
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                                               __________________________________
19                                             MORRISON C. ENGLAND, JR
                                               UNITED STATES DISTRICT JUDGE
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